         Case 1:12-cr-00169-JLT-SKO Document 30 Filed 07/09/12 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   GRANT B. RABENN
     Assistant U.S. Attorneys
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for the
 6     United States of America
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10                                          )   1:12-CR-00169-LJO-SKO
     UNITED STATES OF AMERICA,              )
11                                          )
                      Plaintiff,            )
12                                          )   STIPULATION AND PROTECTIVE
                                            )   ORDER BETWEEN THE UNITED
13              v.                          )   STATES AND DEFENDANT SHARANJIT
                                            )   KAUR
14                                          )
     SHARANJIT KAUR, and                    )
15   BALJIT SINGH,                          )
                                            )
16                                          )
                      Defendants.           )
17                                          )
                                            )
18                                          )
19
          WHEREAS, the discovery in this case is voluminous and contains a
20
     large amount of personal and confidential information including but not
21
     limited to bank account information, personal identifiers and other
22
     personal information of victims-customers and the defendants (“Protected
23
     Information”); and
24
          WHEREAS, the parties desire to avoid both the necessity of large
25
     scale redactions and the unauthorized disclosure or dissemination of
26
     this information to anyone not a party to the court proceedings in this
27
     matter;
28
         Case 1:12-cr-00169-JLT-SKO Document 30 Filed 07/09/12 Page 2 of 3


 1        The parties agree that entry of a stipulated protective order is
 2   appropriate.
 3        THEREFORE, Defendant Sharanjit Kaur, by and through counsel of
 4   record (“Defense Counsel”), and the United States of America, by and
 5   through Assistant United States Attorney Grant B. Rabenn, hereby agree
 6   and stipulate as follows:
 7        1.     This Court may enter a protective order pursuant to Rule 16(d)
 8   of the Federal Rules of Criminal Procedure, and its general supervisory
 9   authority.
10        2.     This Order pertains to all discovery provided to or made
11   available    to   Defense       Counsel    as    part   of   discovery   in   this   case
12   (hereafter, collectively known as “the discovery”).
13        3.     By signing this Stipulation and Protective Order, Defense
14   Counsel agrees not to share any documents that contain Protected
15   Information with anyone other than Defense Counsel attorneys, designated
16   defense investigators, and support staff.                Defense Counsel may permit
17   Defendant to view unredacted documents in the presence of his attorney,
18   defense investigators, and support staff.                    The parties agree that
19   Defense Counsel, defense investigators, and support staff shall not
20   allow   Defendant       to    copy     Protected    Information    contained    in    the
21   discovery.        The        parties    agree    that    Defense   Counsel,     defense
22   investigators, and support staff may provide Defendant with copies of
23   documents from which Protected Information has been redacted.
24        4.     The discovery and information therein may be used only in
25   connection with the litigation of this case and for no other purpose.
26   The discovery is now and will forever remain the property of the United
27   States of America (“Government”).                  Defense Counsel will return the
28   discovery to the Government or certify that it has been shredded at the



                                                  2
          Case 1:12-cr-00169-JLT-SKO Document 30 Filed 07/09/12 Page 3 of 3


 1   conclusion of the case.
 2            5.      Defense Counsel will store the discovery in a secure place and
 3   will use reasonable care to ensure that it is not disclosed to third
 4   persons in violation of this agreement.
 5            6.      Defense     Counsel   shall   be     responsible   for   advising   the
 6   Defendant, employees, and other members of the defense team, and defense
 7   witnesses of the contents of this Stipulation and Order.
 8            7.      In the event that Defendant substitutes counsel, undersigned
 9   Defense Counsel agrees to withhold discovery from new counsel unless and
10   until substituted counsel agrees also to be bound by this Order.
11            8.     Defense Counsel reserves the right to later seek to have the
12   terms of this Order modified or revoked.                   Defense Counsel agrees to
13   return the discovery to the Government in its complete form if the terms
14   of this Order are modified or revoked if so requested by the United
15   States.
16
              IT IS SO STIPULATED.
17
     DATED: July 9, 2012                                BENJAMIN B. WAGNER
18                                                      United States Attorney
19
                                        By:             /s/Grant B. Rabenn
20                                                      GRANT B. RABENN
                                                        Assistant U.S. Attorney
21
22   DATED: July 9, 2012                By:             /s/ Mario DiSalvo
                                                        MARIO DISALVO
23                                                      Attorney for Defendant
                                                        Sharanjit Kaur
24
     IT IS SO ORDERED.
25
     Dated:        July 9, 2012                   /s/ Lawrence J. O'Neill
26   b9ed48                                   UNITED STATES DISTRICT JUDGE
27
28



                                                    3
